
766 N.W.2d 839 (2009)
PEOPLE of the State of Michigan, Plaintiff-Appellee,
v.
Anthony Duane ROYSTER, Defendant-Appellant.
Docket No. 128303. COA No. 280676.
Supreme Court of Michigan.
June 23, 2009.

Order
On order of the Court, the application for leave to appeal the January 8, 2009 judgment of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the questions presented should be reviewed by this Court.
*840 HATHAWAY, J., not participating. Justice Hathaway recuses herself and will not participate in this case as she was the presiding trial court judge. See MCR 2.003(B).
